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lN THE DISTRICT COURT OF OKLAHOMA COUNTY,

STATE OF OKLAHOMA
TEoNA J. MYERS, )
)
Plaintiff, ) .' _
) CJ 2018 - 14 51
vs' ) Case No.
) FILED IN DISTRICT COURT
STATE FARM MUTUAL AUTOMOBILE ) OKLAHOMA COUNTY
INSURANCE COMPANY, )
) MAR 1 5 2018
Defendant. )
RICK WARREN
PETITION COURT CLERK

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COMES NOW the Plaintiff, Teona J. Myers, by and through her attorneys of

 

record, Matthew Reinstein, Michael J. Moore and Jason Bolitho of Lawter & Associates,
P.L.L.C., and, for her causes of action against the Defendant, alleges the following upon
information and belief:

1. Plaintiff Teona J. Myers is a citizen ofthe State of Oklahoma.

2. Det`endant State Farrn Mutual Automobile Insurance Cornpany (“State
Farm”) is a for-profit corporation authorized to do business in the State of Oklahoma,
With its principal headquarters in Bloomington, Illinois.

3. Defendant regularly conducts business throughout the State of Oklahoma,
including Oklahoma County. Defendant issues policies, processes claims, and conducts
all matters of business through an office(s) and agents located in Oklahoma County.

4. The matter giving rise to this suit occurred in the State of Oklahoma.

5. The Defendant has sufficient contacts with the State of Oklahoma to

warrant the exercise of in personam jurisdiction by this Court. Pursuant to 12 O.S.

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§2004(F), this Court has proper subject matter jurisdiction Pursuant to 12 O.S. §137,
venue is proper in Oklahoma County.

6. The amount in controversy herein exceeds the sum of Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest and costs.

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7 . Plaintiff adopts and incorporates herein paragraphs l through 6 above, as
if more fully stated herein, and further alleges and states as follows:

8. That at all material times herein, Plaintiff was insured pursuant to a
contract(s) of insurance on a 2009 Iniiniti M35 With Defendant that provided, among
other things, uninsured/underinsured (UM/UIM) motorist insurance coverage for Plaintiff
in the amount of $25,000.00 limits (per person), identified as insurance policy number
OKA100013478. This contract of insurance was in full force and effect at the time of
Plaintiff’s loss on ()ctober 13, 2016.

9. That on or about October 13, 2016, on N.W. 23'd Street near Roff Avenue
in Oklahoma City, Plaintiff was injured in an automobile collision, resulting in damages
including medical expenses and loss of income. The Plaintiff Was not at fault in the
collision

10. On November 17, 2016, Plaintiff provided notice to State Farm of said
collision resulting in a UM/UIM claim (Claim #36-0207-5]7). Thereafter, the Plaintiff
timely notified the Defendant of, among other things, her UM/UIM claim.

ll. As a result of the October 13, 2016, collision, the Plaintiff sustained

personal injuries to her cervical, thoracic and lumbar spine and underwent necessary

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medical treatment, including, but not limited to, an epidural steroid injection into her
spine.

12. On June 23, 2017, counsel for Plaintiff sent a letter on behalf of Plaintiff
to State farm advising it she wished to pursue a claim against the Underinsured Motorist
Portion of the aforesaid policy and claim. Along with said letter State Farm was provided
medical and wage authorizations and a complete copy of medical records and bills related
to the Plaintiff’s claim at that point in time. This letter and attached documentation
contained medical records from Dr. J. Arden Blough and a Neurosurgeon, Qualls E.
Stevens confirming objective findings of injuries and the need for the Plaintiff to have
future treatment to deal with her ongoing pain and problems The Plaintist actual
damages identified to State F arm at that time totaled over $37,000.00.

13. In response to said letter, on August 22, 2017, adjuster Dexter Hoskins
from State Farm sent Plaintiff’s counsel a letter advising the Plaintiff that her claim had
been evaluated to be worth less than the liability insurance limit of $25,000.00 held by
the at- fault driver involved in the collision with the Plaintiff on October 13, 20]6. As
such State Farm refused to make any payment to the Plaintiff at that time.

14. On October 5, 2017, counsel for Plaintiff sent a letter on behalf of Plaintiff
to State Farm informing adjuster Dexter Hoskins that the Plaintiff had undergone yet
another spinal injection due to her persistent pain and problems The additional records
and billing statements were sent along with this letter. At that point in time Dr. J. Arden
Blough’s records made it clear to State Farm that Plaintifi’s future medical expenses
could total well in excess of $100,000.00, as she would ultimately need surgical

intervention for her cervical spine injury. Plaintiff made a demand for State Farm to

 

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tender its policy limits of $25,000.00 to the Plaintiff as the claim clearly warranted an
evaluation well in excess of $50,000.00.

15. Almost two months later adjuster Dexter Hoskins for State Farm replied in
a letter dated November 26, 2017, advising the Plaintiff that “it is our position at this
time, Ms. Myer’s claim is valued within the available $25,00().00 liability limits of the at-
fault insurance carrier, Hallmark Insurance Company.” As such State Farm refused to
make any payment to the Plaintiff at that time.

16. On November 30, 2017, counsel for Plaintiff advised State Farm that
Hallmark Insurance had offered Ms. Myers the policy limit of $25,000.00 to settle her
claims against the at-fault driver.

17. On December l, 2017, adjuster Dexter Hosl<ins sent counsel a letter
acknowledging the settlement with Hallka Insurance, but inexplicably asked for
medical information that had already been in his possession for months; and even more
inexplicably, stated: “Finally, upon further reviewing of Ms. Myer’s claim, considering
What medical documents have been received, we are in a position to extend an offer for
$1,000.00 as hill and final settlement of her Underinsured Motorist claim.”

18. That as a result of this improper conduct on the part of the Defendant,
Plaintiff has sustained, among other things, monetary damages, inconvenience, physical
discomfort, loss of peace of mind and security, emotional distress, worry, anguish, and

financial distress

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FIRST CAUSE OF ACTION
BREACH OF CONTRACT

19. Plaintiff adopts and incorporates herein paragraphs l through 18 above, as
if more fully stated herein, and further alleges and states as follows:

20. When the subject insurance policy was purchased the Plaintiff did not
contract to obtain a commercial advantage, but sought to protect herself against the risks
of accidental losses and the mental stress that could result from such losses State Farm
knew one of the primary reasons a consumer, such as Plaintiff, purchases insurance is the
peace of mind and security that it provides in the event of loss. State Farm knew that the
very risk Plaintiff insured herself against presupposed that when a claim was made for
benefits under the underinsured/uninsured coverage, Plaintiff could possibly be in
financial straits or circumstances and, therefore, particularly vulnerable to oppressive
tactics on the part of an economically-powerful entity such as State Fann.

21. That State Farm’s relationship with its insured was a fiduciary relationship
and/or a special relationship making the laws governing fiduciary relationships
applicable Despite this fiduciary and/or special relationship, State F arm refused to honor
its prior commitment to pay for damages incurred by Plaintiff.

22. That State Farm breached the insurance contract with Plaintiff by failing
to pay her for the damages incurred as a result of the October 13, 2016, collision. As a
result of State Farm’s breach of contract, Plaintiff has been damaged in at least the

amount of the UM/UIM policy limit per person of $25,000.00.

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SECOND CAUSE OF ACTION
BAD FAITH

23. Plaintiff adopts and incorporates herein paragraphs l through 22 above, as
if more fully stated herein, and further alleges and states as follows:

24. State Farm is required to do at least the following as part of its duty of
good faith and fair dealing with first-party insured including the Plaintiff:

(a) Treat her interest with equal regard to its own interest (not adversarial

process);

(b) Assist her With her UM claim;

(c) Conduct a full, fair and prompt investigation of her UM claim;

(d) Fairly, obj ectively, and even-handedly evaluate her Ul\/l claim;

(e) Diligently search for and consider evidence that supports payment of her
UM claim;

(t) Not deny or reduce her UM claim based upon insufficient inforrnation,
speculation or bias;

(g) Promptly pay all UM policy benefits owed to her under the policy;

(h) Have in its possession some objective medical evidence that justifies its
evaluation;

(i) Not compel her to institute and pursue a lawsuit to recover benefits due
under the UM policy; and

(j) Not delay payment to her of UM benefits owed under the policy.

25. Under the terms of the subject Underinsured Motorist policy State Farm
had available many tools to help it evaluate this claim fully and fairly. State Farm was
entitled to take a statement from the Plaintiff to discover things that couldn’t be known

by just reading her medical records, such as how the injuries affected Ms. Myer’s daily

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life, yet it deliberately chose not to do so. State Farm was further entitled to have the
Plaintiff examined by a doctor of its choice and/or to obtain the opinion of its own expert
as to the medical information the Plaintiff provided. State Farm never had her examined
by a doctor and has never provided counsel any medical opinion from any other doctor
disputing the medical opinions of Dr. J. Arden Blough and Dr. Qualls E. Stevens.

26. In fact, in the aforesaid letter to State Farm dated November 30, 2017, it
was specifically pointed out that State Farm had never even bothered to take Ms. Myer’
statement Yet the December l, 2017 letter from State Farm offering the Plaintiff only
$1,000.00 was still sent without requesting Ms. Myer’s statement, demonstrating a total
lack of care and concern.

27. State Farm has violated its duty of good faith and fair dealing by
unreasonably and in bad faith refusing to pay Plaintiff the proper amount for her valid
claims under the insurance policy. State Farm has further violated the duty of good faith
and fair dealing by unreasonably failing to perform a proper investigation and by failing
to evaluate the results of its investigation properly; that State Farm had no reasonable or
objective basis to refuse to offer the uninsured/underinsured policy limits of $25,000.00
to satisfy the Plaintiff’s claim. State Farm has further violated its duty of good faith and
fair dealing by negligently supervising this loss.

28. That Plaintiff has made repeated demands that Defendant pay her
UM/UIM claim as a result of the October 13, 2016, automobile collision pursuant to the
policy of insurance previously issued by Defendant to Plaintiff, and the Defendant
refused to, among other things, timely and properly investigate, evaluate, and properly

pay Plaintiff’s claim(s). This includes unreasonably, recklessly, and/or intentionally

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delaying payment of the applicable UM/UIM policy limits of $25,000.00. As a result,
State Farm has breached its duty of good faith and fair dealing owed to the Plaintiff.

29. That State Farm has breached the duty of utmost good faith and fair
dealing owed by an insurer to its insured by its williill, wanton and reckless disregard of
all of the medical information it was provided. State Farm has recklessly disregarded its
duty to deal fairly and in good faith with its insured. That as a result of State Farm’s
breach of its duty of good faith and fair dealing, Plaintiff has suffered actual monetary
damages and has also suffered inconvenience, physical discomfort, loss of peace of mind
and security, emotional distress, worry, anguish, and financial distress in an amount in
excess of Seventy-Five Thousand Dollars ($75,000.00).

30. Finally, based upon State Farm’s wanton, willful, and malicious actions,
as well as its reckless disregard of its duty to deal fairly and in good faith towards its
insured, Plaintiff seeks punitive damages in an amount in excess of Seventy-Five
Thousand Dollars ($75,000.00).

CONCLUSION

WHEREFORE, premises considered, the Plaintiff, Teona J. Myers, prays for
judgment in her favor against the Defendant, State Farm Mutual Automobile Insurance
Company, for (a) breach of contract damages in the amount of $25,000.00; (b) actual
damages in an amount in excess of $75,000.00; (c) punitive damages in an amount in
excess of $75,000.00; (d) Plaintist prejudgment interest, costs, and a reasonable

attorney’s fee; and (e) such other relief to which Plaintiff may be entitled.

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Respectfully Submitted,

LAWTER W§,SQQ/I-ALES, P.L.L.C.

  
    
  

   

 

By; Witth§?/Reinstein, OBA # 17127
Mike oore, OBA # 6347
Jason Bolitho, OBA # 33118
3313 North Classen Boulevard
Oklahoma City, OK. 73118
Telephone - (405) 525-4131
Attomeys for Plaintiij Teona J Myers
ATTORNEY’S LIEN CLAIMED
JURY TRIAL DEMANDED

